                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                             )
                                                      )
                      Plaintiff,                      )
                                                      )     No. 3:08-CR-47
V.                                                    )     (PHILLIPS / GUYTON)
                                                      )
FRANK SOUTO,                                          )
VINCENT WILLIS,                                       )
MARIA BEAVER,                                         )
JOHN DOE, a/k/a “Poli”, a/k/a                         )
Jose Augustin Orozco Mendoza,                         )
JOHN DOE, a/k/a Bernardo Valdez Leal,                 )
DAMIEN LOPEZ, a/k/a JUAN DIAZ, JR.,                   )
                                                      )
                      Defendants.                     )


                               MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. On July 14, 2008, this criminal action came before the Court for a hearing

on the government’s Motion for Extension of Time Within Which to Provide Discovery [Doc. 24]

and defendant Frank Souto’s Motion to Continue Trial [Doc. 35]. Assistant United States Attorney

Tracee Plowell appeared on behalf of the government. Attorney Leslie M. Jeffress appeared on

behalf of defendant Frank Souto; attorney David M. Eldridge appeared on behalf of defendant

Vincent Willis; attorney James H. Varner, Jr. appeared on behalf of defendant Maria Beaver; and

attorney Mike Whalen appeared on behalf of defendant Jose Augustin Orozco Mendoza.

       During the hearing, the parties all agreed that the currently scheduled trial date of July 21,

2008, was untenable and that the matter would need to be continued in order to allow defendants

time to fully review discovery, to file any necessary motions, for the Court to rule on any such



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motions, for the parties to appeal any such ruling to the District Court, if necessary, and for the

parties to prepare for trial. More specifically, the government has just finished producing thousands

of wire tap calls in discovery, and these calls need to be copied, reviewed, and translated (as many

are in Spanish), and the parties and their attorneys will still need to obtain and review lab reports,

and then prepare the appropriate individual and/or collective motions. In light of AUSA Plowell’s

representation that all discovery has been provided, but for lab reports, which should be available

tomorrow, the government’s Motion for Extension of Time Within Which to Provide Discovery

[Doc. 24] is DENIED AS MOOT.

       In light of the agreement by the parties, the Court finds that the ends of justice served by a

continuance outweigh the interest of defendants and the public in a speedy trial. See 18 U.S.C. §

3161(h)(8)(A). Specifically, the Court finds that failure to grant a continuance under these

circumstances would deny defendant the reasonable time necessary for effective preparation for trial,

resulting in a miscarriage of justice. See 18 U.S.C. § 3161(h)(8)(B)(i),(iv). The Court finds that this

case not only involves multiple defendants, but is alleged to be related to two other multi-defendant

indictments, and that additional time is needed: to allow the defendants to review the voluminous

discovery in this matter; to allow the parties to file any necessary motions; for the Court to hear

argument on and rule on any such motions; for the District Court to rule on any objections to any

Reports and Recommendations the Court might issue; and for both parties to then prepare for trial

based upon the resolution of any such motions. The Court finds that this could not take place before

the July 21, 2008, trial date, or in less than approximately seven months. Therefore, the trial in this

matter is hereby CONTINUED to February 19, 2009.

       Accordingly, the Court finds that all time between the filing of the instant motions and the

new trial date of February 19, 2009, is fully excludable time under the Speedy Trial Act. See 18




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U.S.C. § 3161(h)(8)(A)-(B)(i) and (iv). Counsel for government and for all of the defendants agreed

that the time in question was fully excludable.

       In light of the new trial date, the Court set the following deadlines: defendants shall have

until and including November 14, 2008, to file any motions; the government shall have until and

including December 5, 2008, to respond to any such motions. A pretrial conference is scheduled

for February 6, 2009 at 11:00 a.m. before the undersigned.

       Accordingly, for the reasons set forth above, the government’s Motion for Extension of Time

Within Which to Provide Discovery [Doc. 24] is DENIED AS MOOT. Defendant Frank Souto’s

Motion to Continue Trial is hereby GRANTED.

               In summary, it is ORDERED:

               (1) The trial of this matter is reset to commence on February 19,
               2009, at 9:00 a.m., before the Honorable Thomas W. Phillips, United
               States District Judge;

               (2) All time between the filing of the instant motions and the new
               trial date of February 19, 2009, is fully excludable time under the
               Speedy Trial Act for the reasons set forth above;

               (3) The motion deadline is extended to November 14, 2008;

               (4) Responses to any such motions shall be due on or before
               December 5, 2008;

               (5) A pretrial conference on February 6, 200 at 11:00 a.m. before
               the undersigned.

       IT IS SO ORDERED.
                                                     ENTER:

                                                          s/ H. Bruce Guyton
                                                     United States Magistrate Judge




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